Case 1:23-cv-05072-MLB Document 46-7 Filed 01/09/25 Page1of 32

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

DAVID C. WARTH,
Plaintiff, CIVIL ACTION FILE NO.
1:23-cv-05072-MLB

Vv.

THOMAS WILLIAMSON,

Defendant.

DEFENDANT’S EXHIBITS TO STATEMENT OF UNDISPUTED
MATERIAL FACTS IN SUPPORT OF MOTION FOR SUMMARY
JUDGMENT

EXHIBIT C- Brian Warth Deposition Excerpts
Case 1:23-cv-05072-MLB Document 46-7 Filed 01/09/25 Page 2 of 32

DAVID C. WARTH vs GWINNETT COUNTY PUBLIC SCHOOL, et al.
Brian Warth on 11/06/2024

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GHORGIA

ATLANTA DIVISION

DAVID C. WARTH,
CIVIL ACTION

FILE NO.:
1:23-cv-05072-MLB

Plaintiff,
Vs.
GWINNETT COUNTY PUBLIC
SCHOOLS, et al.,

Defendant.

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The remote videoconference deposition of
BRIAN WARTH taken pursuant to Notice and
agreement of counsel for any and all purposes
allowed under the Georgia Civil Practice Act; the
reading and signing of the deposition will go
forward; taken before Samantha Browning,
Certified Court Reporter, Certified Verbatim
Reporter and Notary Public in and for the State
of Georgia to commence at 10:00 A.M. on the 6th
day of November, 2024. All parties in attendance

appeared via remote videoconference.

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Case 1:23-cv-05072-MLB Document 46-7 Filed 01/09/25 Page 3 of 32

DAVID C. WARTH vs GWINNETT COUNTY PUBLIC SCHOOL, et al.
Brian Warth on 11/06/2024

— Page 56
1 Q. I'ma little confused. Why -- why would
2 you need to tape the metronome under the car --
3 A. He believed it would make a sound -- it
4 would change in its tone as it passes by.
5 It was a way of doing the experiment.

MR. PEREIRA: So --

A. It was a crisis -- they created the

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Case 1:23-cv-05072-MLB Document 46-7 Filed 01/09/25 Page 4 of 32

DAVID C. WARTH vs GWINNETT COUNTY PUBLIC SCHOOL, et al.
Brian Warth on 11/06/2024

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Page 59

A. Not exactly.

A. Okay. David was home with both me and
Deb. We were talking to David about his anxiety
at the school and David had enough of the
conversation and walked out of the house.

I knew that I didn't want him out at night
with everything that was going on at the school
at the time, so I immediately went and picked him
up and took him to band practice.

While I was at band practice, I get a call
from Deb and she said bring him home, he needs to
-- we need to consider getting medication and
then she went into a lot of other conversation
more about how the school was acting on David.

I brought David home; I stopped band

practice and I went and took David home. We went

to bed. There was nothing else.

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Case 1:23-cv-05072-MLB Document 46-7 Filed 01/09/25 Page 5 of 32

DAVID C, WARTH ys GWINNETT COUNTY PUBLIC SCHOOL, et al.
Brian Warth on 11/06/2024

Page 63

1 conversation --
2 A. Right, I -- at that -- at that time, I

| 3 had band practice noise going on in the room and
4 so I didn't hear the information clearly.
5 So I just, kind of, gathered the temperature
6 of the -- of the situation had gone up and so

| 7 since it sounded, like -- since it sounded, like,
8 it was so urgent that I needed to bring him and

9 get him to see an appointment.

18 A. At the time, I thought I heard Deb say

19 that he might have wanted to harm the teacher.
20 Q. Okay. I'm going to attempt to share my |
21 screen again and we will mark this as defendant's
22 Exhibit No. 2.

23 And if you could, Mr. Warth, let me know

24 when you can see my screen, the screen I'm trying

25 to share? Are you able to see that document,

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Case 1:23-cv-05072-MLB Document 46-7 Filed 01/09/25 Page 6 of 32

EXHIBIT
1

Case 1:23-cv-05072-MLB Document 46-7 Filed 01/09/25 Page 7 of 32

Ase 1°23-cy-05072-MLB Document 46- led 01/09 Page 8 oO

Case 1:23-cv-05072-MLB Document 46-7 Filed 01/09/25 Page 9 of 32

Case 1:23-cv-05072-MLB Document 46-7 Filed 01/09/25 Page 11 of 32

Case 1:23-cv-05072-MLB Document 46-7 Filed 01/09/25 Page 12 of 32

Case 1:23-cv-05072-MLB Document 46-7 Filed 01/09/25 Page 13 of 32

Case 1:23-cv-05072-MLB Document 46-7 Filed 01/09/25 Page 14 of 32

Case 1:23-cv-05072-MLB Document 46-7 Filed 01/09/25 Page 15 of 32

ASE 1°23-cy-05072-MLB Document 46- led 01/09 Page 160

Case 1:23-cv-05072-MLB Document 46-7 Filed 01/09/25 Page 17 of 32

Case 1:23-cv-05072-MLB Document 46-7 Filed 01/09/25 Page 18 of 32

ASE 1°23-cy-05072-MLB Document 46- led 01/09 Page 19 0

Case 1:23-cv-05072-MLB Document 46-7 Filed 01/09/25 — Page 20 of 32

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Case 1:23-cv-05072-MLB Document 46-7 Filed 01/09/25 Page 27 of 32

Case 1:23-cv-05072-MLB Document 46-7 Filed 01/09/25 Page 28 of 32
Case 1:23-cv-05072-MLB Document 46-7 Filed 01/09/25 Page 29 of 32

Case 1:23-cv-05072-MLB Document 46-7 Filed 01/09/25 Page 30 of 32

EXHIBIT
2

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Case 1:23-cv-05072-MLB Document 46-7 Filed 01/09/25 Page 31 of 32

Case 1:23-cv-05072-MLB Document 46-7 Filed 01/09/25 Page 32 of 32

